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                                        ItetSMMOTO, J.                         DOWGWAL
                                           POLLAK, M.J.
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK                                     cvi
HARRY CHERRY,                                                       Civil Action No.

                      Plantiff,

-against-
ALEXANDRIA OCASIO-CORTEZ,
                                                                                JUL 55 2019
                                                                                                      I
                      Defendant,
                                                                                       E
               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF




PRELIMINARY STATEMENT:

            1. Plaintiff, Harry Cherry ("Mr. Cherry" or "Plaintiff), is a Jewish journalist.

               Importantly, Mr. Cherry has criticized Defendant, Alexandria Ocasio-Cortez

               ("AOC" or "Defendant"), via Twitter on multiple occasions, most recently in

               response to AOC's claims that the United States Government is operating

               "concentration camps" along the U.S. border, similar to those in the Holocaust.

            2. Mr. Cherry has been blocked by Defendant from the @AOC account because of

               opinions he expressed regarding AOC and in reply to Defendant's tweets, often

               fact-checking statements made by her in real time.

            3. Because of Plaintiffs criticisms of AOC, Mr. Cherry has been prevented or

               impeded from viewing AOC's tweets, from replying to the tweets, from viewing

               discussions associated with the tweets, and from participating in those discussions.

            4. Alexandria Ocasio-Cortez is a popular elected member of the United States House

               of Representatives. AOC maintains an active Twitter account with the handle
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            @AOC. This is AOC's verified Twitter account and is the account to which AOC

            regularly posts and engages in both news, events, political speech, and advocates

            for herpolicypositions. AOCuses Twitter as animportant public forum for speech.

         5. In an effort to suppress contrary views, Defendant has excluded Twitter users who

            have criticized AOC and her positions as a Congresswoman via "blocking." This

            practice is unconstitutional and must end.

         6. This very practice has been litigated with regard to President Donald Trump

            blocking individuals on Twitter, and has been found unconstitutional.

         7. The Supreme Court recently acknowledged that social media is a "vast democratic

            forum" analogous to traditional public forums, such as parks. See Packingham v.

            North Carolina. As the Second Circuit Court of Appeals in Manhattan recognized

            on July 9,2019, it is unconstitutional for a political figure to "engage in viewpoint

            discrimination by utilizing Twitter's 'blocking' function to limit certain users access

            to [a] social media account, which is otherwise opento the public at large, because

            [they] disagree with their speech." Knight First Amendment Institute, el al, v.

            Donald J. Trump, et. al, No. 18-1691-cv, slip op. at 4 (2d Cir. 2019)(decided July

            9,2019). Twitter is an interactive spacewhich is a designated public forum. Knight

            First Amendment Institute v. Trump, 302 F. Supp. 3d 541, 574 (S.D.N.Y. 2018).

         8. The manner in which @AOC uses the @AOC Twitter account makes it a public

            forum under the First Amendment. Defendant's account is open and accessible to

            alltaking advantage ofTwitter's interactive platform to directly engage the AOC's

            4.7 million followers. AOC's tweets routinely generate comments both on Twitter

            and in the general media.
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       15. Defendant Alexandria Ocasio-Cortez is a Congresswoman representing the 14th

          District in New York State, which encompasses parts of the Bronx and Queens.

          AOC operates and/or oversees the operation ofa verified Twitter account under
          the handle @AOC. Defendant, and/or her representatives, have blocked Plantiff
          from her @AOC account.

                                 FACTUAL ALLEGATIONS


       16. Twitter is a socialmediaplatform with millions of activeusers across the globe,

          including over 70 million in the United States. It should be noted that Twitter is

          listed on the New York Stock Exchange under trading symbol "TWTR" and that

          Mr. Cherry owns stock in Twitter. The platformallows users to publish messages

          under 280 characters, to republish or respond to others' messages, and to interact

          with other Twitter users in relation to those messages. Speech posted on Twitter

          ranges from comedy to commentary, but particularly relevant here is that a

          significant amount of speech posted on the platform is speech by, to, or about the

          government.

       17. A Twitter "user" is an individual who has created an account on the platform. A

          user can post "tweets," whichcontain short messages, to a webpage on Twitter

          that is the user's account. Tweets can include photographs, videos, and links.

       18. A Twitter user's webpagedisplays all tweets generated by the user, with the most

          recent tweets appearing at the top of the page. This display is known as a user's

          "timeline." When a user generates a tweet, the timeline updates immediately to

          include that tweet. Anyone who can view a user's public Twitter webpage can see

          the user's timeline.
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       19. A Twitter user must have an account name, which is an @ symbol followed by a

          unique identifier (e.g., @AOC), and a descriptive name (e.g., Alexandria Ocasio-

          Cortez). The account name is called the user's "handle." Alongside the handle, a

          user's webpage will display the date the user joined Twitter and a button that

          invites others to "Tweet to" the user. A user's Twitter webpage may also include a

          short biographical description; a profile picture, such as a headshot; a "header"

          image, which appears as a banner at the top ofthe webpage; the user's location; a

          button labeled "Message," which allows two users to correspond privately; and a

          small sample of photographs and videos posted to the user's timeline, which link

          to a full gallery. Thus, part of the webpage for Defendant looks as follows:




                                                                      Follow



                        Alexandria Ocasio-Cortez ©
                        @AOC

                        Congresswoman for NY-14 (the Bronx & Queens).
                        In a modern, moral, and wealthy society, no
                        American should be too poor to live. ##%People-
                        Funded, no lobbyist d).
                        <§> Bron> •*• Queens, NYC S' Ocnsio2018.com
                        fifl Joined April 2010

                        1,522 following 4.7M Follower;.




       20. Twitter is set to be publicly accessible by default. Even those withoutTwitter

          accounts can have access to view a user's page,though they cannot interact with

          the Twitter platform.

       21. The interaction users have on Twitter with one another is comprehensive; they

          candirect message privately, publicly, re-tweet each other, favorite/like each
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          other's comments, engage in multiple person discussion via a Twitter thread

          which stems from the initial post.

       22. Importantly, users can mention each other causing the mentioned user to receive a

          notification of the post they are mentioned in.

       23. Twitter does engage a privacy option which allows for "Protected" tweets.

       24. A user whose account is public, such as AOC, but who wants to make his or her

          tweets invisible and inaccessible to another user can do so by "blocking that user.

          "Blocking" must be affirmatively done by the user. A userwho blocks another

          user prevents the blocked user from interacting with the first user's account on the

          Twitter platform. A blockeruser cannot see orreply to the blocking user's tweets,

          view the blocking user's list of followers or followed accounts, or use the Twitter

          platform to search for the blocking user's tweets. The blocking user will notbe

          notified if the blocked user mentions her; nor will the blocking user see any

          tweets posted by the blocked user.

       25. When the blocked user attempts to follow the blocking user, or to access the

          Twitter webpage from which the user is blocked, the user will see a message

          indicating thatthe other user has blocked him or her from following the account

          and viewing the tweets associated with the account. This is an example of a

          notification from Twitter that a user has been blocked:
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           Alexandria Ocasio-Cortez &
           @AOC




                       @AOC blocked you
               You are blocked from following @AOC and
                        viewing @AOC's Tweets.




                                                          (S)
                •

              t§7                           O              s




THE @AOC ACCOUNT:
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        26. Defendant has been a public member of Twitter since April 2010. In 2018, AOC

           was elected to Congress. During her campaign and after, Defendant has regular

           used Twitter as a way to communicate her views, positions, advocate for matters,

           comment on other tweets, re-tweet, and block those whom she does not agree with.

        27. AOC has a following of over 4.7 million users on Twitter.

        28. AOC regularly posts political messages ofboth a public nature. Defendants Twitter

           page was active with over 17 tweets and re-tweets between July 8, 2019 and July

           9,2019 alone. Each ofthese tweets involves a public interest and matters of official

           capacity, suchas immigration, climate change, public housing, among other topics.

           These tweets alone       contain over 200,000 likes;         50,000 re-tweets; and

           approximately 20,000 comments.

        29. AOC also directly asks for comments from the public on her Twitter page, such as

           from a tweet published on July 7, 2019: "What's your favorite US National Park to

           visit? (Any tips for visiting said park also welcome!".

DEFENDANT'S BLOCKING MR. CHERRY FROM @AOC ACCOUNT:

        30. Plantiff, a Verified Twitter user with the handle @TheHarryCherry, has over 9,000

           followers.

        31. Mr. Cherry, a freelance journalist, often posts comments, replies, and tweets of his

           own relating to AOC's positions.

        32. Mr. Cherry is not the only Verified user on the platform whom AOC has blocked.

           She has also blocked former New York State Assemblyman Dov Hikind,

           Congressional Candidate Joseph Saladino, Daily Wire reporter Ryan Saavedra,

           Author and television opinion host Elizabeth Wheeler, and "Students for Trump,"
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          the grassroots organization on college campuses which supports President Donald

          Trump.


                              Dov Hikind ©



                   The day has come!




                        Alexandria Ocasio-Cortez O
                        (e&AOC




                   6:?0 PM • B Jj;?019



                   241 Retweets 1,424 Lkes   £ 9$@®& 2. O
                    ^   308     ' . 241
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         Saladino for Congress &
     [y> ©JoeySalads

         BRUHHHH, AOC BLOCKED ME!!!!!
           guess we struck a nerve!
           V^ ' \   "




            Alexandria Ocasio-Cortez
            o




         7:44 PM -9 May 2019


         195Retweets 1,711 Likes       ^^
          •J' 166       O   195        1.7K   t_1
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            Ryan Saavedra $
       •%   *IRealSaavedra


            HAHAHAHAHAHHAHAHAHAHAHHAHA

            She finally blocked me and it was after
            called out her latest set of lies




                 Alexandria Ocasio-Cortez
                 o




            7:45 PM - 5 Apr 2019


            7,041 Retweets 29,053 Lkes ® @ ^ ®'*£ © © ^ ®
            C   5.0K     O    7.0K          29K   t I
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                     Liz Wheeler O
                 $   iiliz Wheeip-



                     Omg hahahah                    blocked me!

                     I am ALWAYS respectful & civil. I present
                     facts only, nothing personal. Somebody
                     is threatened by facts & the truth!




                        Alexandria Ocasio-Cortez O
                         „i>AOC




                     7 i-: PM - 5 Jul :019



                     7.715 Retweets 30.319 L Kcr
                                                   >®®s€>©    ©&
                         i.BK     ' .   7.7K
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   gjsgcfc* Students For Trump ®
   T     ©TrumpStudents


         After we called out

         She BLOCKED us...


           guess she couldn't handle the truth ^
           __, Students For Trump O
           ***                r„M...-, •
           -.< .:I;im,i i.i   .......

           Hyou're going to launch such an
          outlandish accusation o* irhumare
           treatment, you're going \i\ need to
                                                      Alexandria Ocasio-Cortez ©
           present proof..
           Because it you iust nv»de this i>t> to*
          political gain, you are BEYOND
          discustitx*.

           We'll Wat.



         12:04 PM -2 Jul 2019



         1,646 Retweets 5,011 Likes                              • m&$m

                463               T_i   1.6K   >.0K




         33. Defendant's blocking of Mr. Cherry, and others like him, from the @AOC account

               prevents or impedes the viewing of Defendant's tweets; from replying to these

               tweets; from viewing the comment threads associated with these tweets; and from

               participating in the comment threads.

         34. Mr. Cherry, a Jewish journalist, was blocked by AOC solely for condemning her

               claim that the United States was operating "concentration camps." Various

               individuals, entities, and organization, including Yad Vashem, the official
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            Holocaust Museum in Israel, condemned AOC's comparison of migrant detention

             facilities to concentration camps.

         35. The Second Circuit Court of Appeals declared earlier this week that "if the First

             Amendment means anything, it means that the best response to disfavored speech

             onmatters ofpublic concern ismore speech, not less." SeeKnight First Amendment

            Institute, No. 18-1691-cv, slip op. at 29 (2d Cir. 2019) (decided July 9, 2019)




                                     CAUSE OF ACTION

                Violation of the First Amendment of the U.S. Constitution
                             (Declaratory and Injunctive Relief)
         36. Plaintiff repeats the allegations set forth above as if fully set forth herein.

         37. Defendant's blocking of the Plaintiff from the @AOC account violates the First

            Amendment because it imposes a viewpoint-based restriction on Mr. Cherry's

            participation in a public forum.

         38. Defendant's blocking Plaintiff from the @AOC account violates the First

            Amendment because it imposes a viewpoint-based restriction on Mr. Cherry's

            access to official statements AOC otherwise makes available to the general

            public.

         39. Defendant's blocking of the Plaintiff from the @AOC account violates the First

            Amendment because it imposes a viewpoint-based restriction on the Plaintiffs

            ability to petition the government for redress of grievances.

        40. Defendant's blocking of Plaintiff from the @AOC account violates the First

            Amendment because it imposes a viewpoint-based restriction on the right to hear

            views expressed.
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                                    PRAYER FOR RELIEF


           WHEREFORE, Plaintiff requests that this Court:

           A. Declare Defendant's viewpoint-based blocking of Plaintiff from the @AOC

               Twitter account to be unconstitutional;

            B. Enteran injunction requiring Defendant to unblock Plantifffrom the @AOC

               Twitter account, and prohibit Defendant from blocking the Plaintiff, and others

               similarly situated, from the account on the basis of viewpoint;

           C. Grant any additional relief as may be just and proper.




Dated: July 12, 2019                                      Respectfully Submitted,




                                                          Harry Cherry
